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 1   Jordan A. Goldstein (pro hac vice)
     Oscar Shine (pro hac vice)
 2   SELENDY GAY PLLC
     1290 Avenue of the Americas
 3   New York, NY 10104
     Tel: 212-390-9000
 4   jgoldstein@selendygay.com
     oshine@selendygay.com
 5
     Elizabeth A. Kramer (SBN 293129)
 6   Kevin M. Osborne (SBN 261367)
     ERICKSON KRAMER OSBORNE LLP
 7   44 Tehama St.
     San Francisco, CA 94105
 8   Tel: 415-635-0631
     elizabeth@eko.law
 9   kevin@eko.law
10
     Attorneys for Plaintiffs and the Proposed Class
11

12                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
13
                                 SAN FRANCISCO DIVISION
14

15   DANIEL VALENTI, Individually and On               Case No.: 3:21-cv-06118-JD
     Behalf of All Others Similarly Situated,
16                                                     PLAINTIFFS’ MEMORANDUM OF
                           Plaintiffs,                 LAW IN OPPOSITION TO
17                                                     DEFENDANTS’ MOTION TO DISMISS
                   v.                                  THE SECOND AMENDED
18                                                     COMPLAINT
     DFINITY USA RESEARCH LLC, DFINITY
19   FOUNDATION, and DOMINIC WILLIAMS,                 Date:      August 29, 2024
                                                       Time:      10:00 a.m.
20                         Defendants.                 Courtroom: 11
                                                       Judge:     Hon. James Donato
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 1                              STATEMENT OF ISSUES TO BE DECIDED

 2         Pursuant to the Local Rules of Practice in Civil Proceedings before the United States

 3 District Court for the Northern District of California, Rule 7-4(a)(3), Plaintiffs ask the Court to

 4 rule on whether their Second Amended Complaint (“SAC”) states facially plausible facts sufficient

 5 for a reasonable inference that:

 6         1. Defendants solicited sales of unregistered securities in violation of Sections 5 and

 7             12(a)(1) of the Securities Act of 1933 (the “Securities Act”);

 8         2. Defendants made false and misleading statements in violation of Section 10(b) of the

 9             Securities Exchange Act of 1934 (the “Exchange Act”);

10         3. Defendants engaged in insider trading in violation of Section 20A of the Exchange Act;

11             and

12         4. Defendant Dominic Williams is liable as a controlling person for these violations

13             pursuant to Section 15 of the Securities Act and Section 20(a) of the Exchange Act.

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 1          Plaintiffs Henry Rodriguez and Daniel Valenti respectfully submit this brief in opposition

 2 to Defendants Dfinity USA Research LLC (“Dfinity USA”), Dfinity Foundation (the

 3 “Foundation,” and together with Dfinity USA, “Dfinity”), and Dominic Williams’s motion to

 4 dismiss (the “Motion,” Dkt. 143) the Second Amended Complaint (the “SAC,” Dkt. 139).

 5                                 PRELIMINARY STATEMENT
 6          Williams—Dfinity’s founder, Chief Executive Officer, and “Chief Scientist”—told the

 7 market that Dfinity’s crypto token ICP “was not a traditional cryptocurrency pump and dump.”

 8 But the facts surrounding ICP’s launch, soaring price, and steep fall tell a different and familiar

 9 tale. Defendants hyped and promoted the financial benefits of ICP and disregarded the federal

10 securities laws and regulations designed to protect investors. Once the market learned the truth,

11 the price of ICP plummeted and investors were left with significant losses.

12          The SAC adequately pleads multiple meritorious claims. First, Defendants solicited sales

13 of unregistered securities in violation of Section 12(a)(1) of the Securities Act of 1933 (the

14 “Securities Act”). The Motion does not dispute that ICP is a security, and Defendants’ arguments

15 for dismissal are meritless. Their statute of repose defense fails because Dfinity first publicly

16 offered ICP on May 10, 2021, less than three years ago. Defendants are statutory sellers because

17 they solicited sales of ICP through mass internet communications and an intricately designed

18 scheme to launch trading simultaneously across multiple exchanges, and they did so to serve their

19 own financial interests. See Pinter v. Dahl, 486 U.S. 622 (1988); Pino v. Cardone Cap., LLC, 55

20 F.4th 1253 (9th Cir. 2022). Defendants cannot end-run the SAC’s well-pleaded allegations by

21 repeatedly asking the Court to credit superseded allegations from a prior pleading in clear

22 contravention of binding Ninth Circuit authority prohibiting such a feint.

23          Second, Defendants violated Section 10(b) of the Securities Exchange Act of 1934 (the

24 “Exchange Act”) by making materially misleading statements about Defendants’ sales of ICP at

25 launch and the ICP lockup and vesting restrictions that applied to Defendants and their affiliates

26 and employees. Defendants generated enthusiasm for ICP and pumped its price by falsely claiming

27 that they would hold ICP for the long term and that lockups and vesting restrictions would ensure

28 liquidity for secondary-market trading by preventing Defendants and their affiliates and employees

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 1 from selling ICP in the immediate aftermath of its launch and listing on crypto-exchanges. These

 2 statements were false—Defendants engaged in massive dumping of ICP, both directly and through

 3 intermediaries, and the lockups and vesting restrictions were nowhere near as extensive as

 4 Defendants had claimed. When the market learned the truth, ICP’s price cratered. Defendants’

 5 attempt to blame the dumping solely on “former employees” and “seed” investors is impermissible

 6 at this stage and in any event does not cure Defendants’ materially misleading statements. The

 7 SAC plainly alleges that Defendants sold ICP and that they falsely stated that ICP issued to Dfinity

 8 “team members”—whether current or former—would be subject to lockups and vesting

 9 restrictions to prevent the exact type of predatory trading that occurred here.

10          Because the SAC adequately alleges primary violations and contemporaneous trading,

11 Defendants’ arguments for dismissal of insider trading and control person claims fail too. The

12 Motion should be denied, and the case should proceed to discovery.

13                                          BACKGROUND 1
14          Williams established the Foundation to build its “Internet Computer” blockchain, and by

15 early 2017, began to explore an initial coin offering (“ICO”) of its native token, ICP. SAC ¶¶ 2,

16 28. Given SEC crackdowns on ICOs at the time, the Foundation delayed its planned ICO and

17 instead raised funds through donations, beginning with a so-called “seed” round. See id. ¶¶ 4, 29.

18 Despite its name, the “seed” round did not sell any ICP. See id. ¶ 29. Instead, the Foundation would

19 merely recommend future ICP allocations to donors when the network matured. Id.

20          Williams incorporated Dfinity USA in August 2017, and around the same time solicited

21 crypto hedge funds for a second “strategic” fundraising round in February 2018, followed by a

22 “presale” fundraising round in August 2018. Id. ¶ 30. Again, as in the “seed” round, no ICP tokens

23 were sold during these “strategic” and “presale” rounds—instead, donors only “hoped to receive

24 portions of ICP tokens reflecting their contributions once the blockchain officially launched,”

25 assuming it even would launch. Id. But, as the SAC plainly alleges, no ICP tokens were sold to

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27  The SAC’s allegations must be assumed to be true at this stage. Koala v. Khosla, 931 F.3d 887,
   895 (9th Cir. 2019). Notwithstanding Defendants’ mistaken argument to the contrary, see Mot. 2
28 n.3, 5, any superseded allegations from prior pleadings are “of no moment at this stage in the
   proceedings,” Koala, 931 F.3d at 895; see also infra Part I.A.
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 1 investors during this “presale” period. See id. In any event, throughout the “seed,” “strategic,” and

 2 “presale” fundraising periods, Defendants promoted ICP as a safe, long-term investment by issuing

 3 public assurances to retail investors that ICP tokens issued to Defendants, their affiliates and

 4 employees, and large investors would be locked up and subject to vesting schedules. Id. ¶¶ 33–38.

 5          Defendants began promoting ICP’s actual May 10, 2021 token launch in the summer of

 6 2020. Id. ¶¶ 39–40. The so-called “Genesis launch” would take the Internet Computer blockchain

 7 into a “fully public mode,” with “full token liquidity” for ICP through listings on numerous crypto-

 8 exchanges. Id. ¶¶ 47−48. In the lead up to the Genesis launch, Defendants promoted ICP through

 9 Twitter posts, interviews with major news outlets like Bloomberg and Decrypt, and an hours-long,

10 road-show type presentation called the Genesis Launch Event. Id. ¶¶ 39−46. Williams told

11 potential investors that Dfinity was “not a traditional cryptocurrency pump and dump,” that he

12 personally planned to lock up his tokens for “eight years,” and that Dfinity was “a long term

13 operation, which is why we did not dump all our tokens.” Id. ¶¶ 36−38.

14          On May 10, 2021, Defendants took multiple affirmative steps to list ICP on several crypto-

15 exchanges at once, including Coinbase, Binance, Huobi, OKEx, Kucoin, CoinList, CoinEx, and

16 FTX. Id. ¶ 48. These steps included applying to be listed, paying listing fees, and paying

17 transaction fees when Defendants sold ICP on those exchanges. Id. The purpose of listing ICP on

18 several crypto-exchanges simultaneously was to attract as many investors as possible and promote

19 liquid trading markets for ICP. Id. During the first day of trading, ICP’s market capitalization

20 soared to more than $46 billion. Id ¶ 49. Plaintiff Valenti and other members of the class began

21 purchasing ICP that day, and Plaintiff Rodriguez began buying the token a few days later. Id.

22          Defendants never registered ICP as a security pursuant to the federal securities laws, and

23 they omitted disclosures that those laws and the SEC have deemed essential to investor protections

24 in initial public offerings. Id. ¶¶ 1, 4.

25          In the two months after ICP’s launch, Defendants repeated their statements to investors

26 that ICP tokens held by Defendants were subject to lockup and vesting requirements, and that the

27 Foundation did not directly or indirectly sell ICP. Id. ¶¶ 53, 55, 63−64, 133, 148. These statements

28 were materially misleading: Defendants were not subject to lockups or vesting restrictions, and
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 1 they began dumping massive quantities of ICP tokens on crypto-exchanges as soon as trading

 2 opened on May 10, 2021. Id. ¶ 57. Defendants transferred millions of ICP tokens (worth billions

 3 of dollars at the time of transfer) directly to crypto-exchange accounts, and they indirectly sold

 4 ICP through the Internet Computer Association (“ICA”), which, like Dfinity, is controlled by

 5 Defendant Williams. Id. ¶¶ 58–61. By concealing the truth from investors, Defendants were able

 6 to continue selling ICP—and Plaintiffs and other class members continued purchasing ICP—at

 7 artificially inflated prices. Id. ¶ 56. Defendants’ statements about their own ICP sales were

 8 compounded by materially misleading statements concerning the lockups and vesting restrictions

 9 that applied to their affiliates and employees. Defendants repeatedly told the market that their

10 affiliates and employees would be significantly limited in the number of ICP tokens that they could

11 sell at launch, see id. ¶¶ 33−38, 64, but, in fact, those groups were free to take advantage of ICP’s

12 price hike and reap profits from retail investors, id. ¶ 133.

13          This action was filed on August 9, 2021, three months after ICP was first bona fide offered

14 to the public. Dkt. 1. Following a change in Plaintiffs’ counsel, the Court on December 15, 2023

15 granted the undersigned counsel leave to file the SAC. Dkt. 136.

16                                             ARGUMENT
17 I.       THE SAC STATES PRIMARY CLAIMS UNDER THE SECURITIES ACT
18          Defendants do not contest that ICP is a security. Instead, they argue that Plaintiffs’

19 Securities Act claims are barred by Section 13’s statute of repose, 15 U.S.C. § 77m, and that the

20 SAC fails to allege that Defendants were “statutory sellers.” Mot. 4–8. Both arguments fail.

21          A.      Plaintiffs’ Securities Act Claims Are Timely
22          Section 13 of the Securities Act requires a Section 12(a)(1) claim to be “brought within

23 one year after the violation upon which it is based” and no “more than three years after the security

24 was bona fide offered to the public.” 15 U.S.C. § 77m. Defendants do not dispute that Plaintiffs’

25 claims are timely under Section 13’s one-year statute of limitations. Instead, they challenge the

26 timeliness of Plaintiffs’ claims only under Section 13’s three-year statute of repose. Mot. 4–6.

27          As an initial matter, the statute of repose does not even apply to a Section 12(a)(1) claim

28 for an unregistered offering (meaning that Plaintiffs’ claims are necessarily timely). See, e.g.,
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 1 Stephenson v. Deutsche Bank AG, 282 F. Supp. 2d 1032, 1064 (D. Minn. 2003) (“Because the

 2 offer of unregistered securities is unlawful, it follows that the ‘bona fide offered to the public’

 3 provision does not apply.” (cleaned up)); Bradford v. Moench, 809 F. Supp. 1473, 1487 (D. Utah

 4 1992) (same); In re Bestline Prods. Secs. & Antitrust Litig., 1975 WL 386, at *2 (S.D. Fla. Mar.

 5 21, 1975) (“To hold [otherwise] would be to give individuals a license to sell unregistered

 6 securities to whomsoever they wished if they first offered the security to a group of people and, so

 7 to speak, ‘ran the gauntlet’ for three years.”). The Ninth Circuit has not ruled on the issue. But cf.

 8 Zakinov v. Ripple Labs, Inc., 2020 WL 922815 (N.D. Cal. Feb. 26, 2020).

 9          In any event, even if the statute of repose did apply here, Plaintiffs’ claims easily come

10 within it. Courts applying Section 13 to unregistered offerings construe its phrase “bona fide

11 offered to the public” to mean “when was the stock really and truly (genuinely) being offered to

12 the public.” Zakinov, 2020 WL 922815, at *9 (quoting P. Stolz Fam. P’ship L.P. v. Daum, 355

13 F.3d 92, 99 (2d Cir. 2004)). Allegations that an unregistered security was listed on an exchange

14 and subsequently experienced significant trading activity raise a plausible inference that the listing

15 date was the asset’s first bona fide public offering. Id. at *10. 2

16          Here, Plaintiffs expressly allege that no ICP tokens were issued, sold, or otherwise made

17 available for trading more than three years before this action was filed, i.e., before August 8, 2018.

18 See SAC ¶¶ 29–32. In fact, the SAC alleges that “Defendants first began selling ICP tokens to

19 retail investors in the United States and elsewhere beginning on May 10, 2021,” id. ¶ 5, less than

20 three months before this action was filed. May 10, 2021 is the start of the class period, id. ¶¶ 1, 92,

21 and the date when Defendants first launched ICP into “fully public mode” and listed ICP on crypto-

22 exchanges, id. ¶¶ 47–48. As a result of the listing, “ICP immediately catapulted to the upper

23 echelon of crypto-assets, peaking at a market capitalization of over $46 billion, making it the eighth

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25   Accord Ballenger v. Applied Digit. Sols., Inc., 189 F. Supp. 2d 196, 199 (D. Del. 2002) (“A stock
   is bona fide offered to the public when it is listed for trading on the over-the-counter market (listed
26 in the ‘pink sheets’).”); Sowell v. Butcher & Singer, Inc., 1987 WL 10712, at *8 (E.D. Pa. May 13,
   1987) (same). This is consistent with courts’ longstanding interpretation of the same phrase, “bona
27 fide offered to the public,” in the Securities Act’s dealer exemption, 15 U.S.C.§ 77d(3)(A), to
   mean “the day on which trading commenced,” Secs. & Exch. Comm’n v. N. Am. Rsch. & Dev.
28 Corp., 424 F.2d 63, 80 n.14 (2d Cir. 1970); accord In re Laser Arms Corp. Secs. Litig., 794 F.
   Supp. 475, 483 (S.D.N.Y. 1989) (collecting cases).
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 1 most valuable crypto-asset at the time.” Id. ¶ 49. These allegations suffice to plead May 10, 2021

 2 as the first bona fide public offering of ICP. Zakinov, 2020 WL 922815, at *9.

 3          Defendants’ desperate argument that “Dfinity first offered ICP to the public shortly after

 4 February 2017” improperly relies on a misreading of superseded allegations from the first amended

 5 complaint (“FAC,” Dkt. 45). Mot. 5–6. “It is well-established in our circuit that an amended

 6 complaint supersedes the original, the latter being treated thereafter as non-existent.” Ramirez v.

 7 Cnty. of San Bernardino, 806 F.3d 1002, 1008 (9th Cir. 2015). Accordingly, this Court is

 8 “constrained to review only the allegations in the SAC and any documents attached to it or

 9 incorporated by reference, and [it] must accept all well-pleaded allegations as true,” Koala, 931

10 F.3d at 895, and “may not consider allegations made only in [the] initial complaint,” Levesque v.

11 Rinchem Co., Inc., 2015 WL 6152783, at *4 n.46 (N.D. Cal. Oct. 20, 2015); see also Santana v.

12 State of Cal. Dep’t of Corrs. & Rehab., 2010 WL 4176364, at *7 (N.D. Cal. Oct. 19, 2010)

13 (collecting cases)); Bruister v. Asuncion, 2018 WL 6016966, at *3 n.2 (C.D. Cal. July 16, 2018)

14 (refusing to consider, on a motion to dismiss, a document attached only to superseded complaint). 3

15          Defendants rely on Azadpour v. Sun Microsys., Inc., 2007 WL 2141079 (N.D. Cal. July 23,

16 2007), and Bauer v. Tacey Goss, P.S., 2012 WL 2838834 (N.D. Cal. July 10, 2012), to argue that

17 operative allegations may be stricken as “sham” based on purportedly inconsistent superseded

18 allegations. Mot. 5 & 2 n.3. But such cases were “effectively overruled by the Ninth Circuit’s

19 holding in PAE Gov’t Servs., Inc. v. MPRI, Inc., 514 F.3d 856 (9th Cir. 2007),” which held that

20 “there is nothing in the Federal Rules of Civil Procedure to prevent a party from filing successive

21 pleadings that make inconsistent or even contradictory allegations.” Gardenswartz v. SunTrust

22 Mortg., Inc., 2015 WL 900638, at *3 (C.D. Cal. Mar. 3, 2015) (quoting PAE, 514 F.3d at 860). 4

23

24
     3
25   Crediting extraneous evidence to rule on the statute of repose at this stage would also contravene
   the rule that a “plaintiff need not affirmatively allege that his federal securities claims comply with
26 the statute of repose” because it is an affirmative defense. Zakinov, 2020 WL 922815, at *9.
     4
27   Accord Precht v. Kia Motors Am., Inc., 2015 WL 12684342, at *4 (C.D. Cal. Apr. 8, 2015);
   Morgan Tire of Sacramento, Inc. v. Goodyear Tire & Rubber Co., 60 F. Supp. 3d 1109, 1114–15
28 (E.D. Cal. 2014); Ryabyshchuk v. Citibank (S. Dakota) N.A., 2011 WL 5976239, at *4 n.2 (S.D.
   Cal. Nov. 28, 2011).
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 1          In any event, Defendants mischaracterize the FAC’s allegations by cherry-picking inartful

 2 phrasing by Plaintiffs’ prior counsel to manufacture inconsistency. Although the FAC called

 3 Defendants’ February 2017 fundraising a “first sale” of “future ICP tokens,” FAC ¶ 36, it made

 4 clear (as does the SAC) that ICP tokens were, in fact, not made available to the public or traded

 5 until May 10, 2021, when ICP was listed on crypto-exchanges and experienced a massive first day

 6 of trading, id. ¶¶ 35, 50, 80. In Zakinov, the court took judicial notice that the defendants had

 7 engaged in a “handful of person-specific transactions” before listing their unregistered token on a

 8 crypto-exchange, and the complaint “apparently mistaken[ly]” described those transactions as

 9 directed to the general public. 2020 WL 922815, at *9–10. Nonetheless, based on “the substance

10 of the actual sales activity alleged and judicially noticeable,” including the large increase in trading

11 volume after the token was listed on an exchange, the court held that the first bona fide public

12 offering occurred at the time of public listing, making the claims timely. Id. at *10. The same

13 conclusion is warranted here.

14          B.      Defendants Are Statutory Sellers Under Section 12(a)(1)
15          “[A] person may be liable as a ‘seller’ under … § 12(a) if the person either: (1) passes title

16 to the securities to the plaintiff; or (2) ‘engages in solicitation,’ i.e., ‘solicits the purchase [of the

17 securities], motivated at least in part by a desire to serve his own financial interests or those of the

18 securities owner.’” Pino, 55 F.4th at 1257–58 (quoting Pinter, 486 U.S. at 643, 647−48). The SAC

19 adequately pleads that Defendants qualify as statutory sellers under Pinter’s second prong because

20 they solicited purchases of ICP to serve their own financial interests.

21          First, the SAC alleges, and Defendants do not meaningfully dispute, that their solicitations

22 of ICP were motivated to serve Defendants’ financial interests because they held significant

23 positions in ICP and profited after its price soared above $750 shortly after launch. SAC ¶¶ 54,

24 57−61, 64−65; see Pino, 55 F.4th at 1258.

25          Second, the SAC adequately alleges that Defendants engaged in solicitation “by promoting

26 the sale of [ICP] in a mass communication.” Pino, 55 F.4th at 1260. In Pino, the Ninth Circuit

27 determined that the complaint adequately alleged solicitation because defendants hosted a

28 “Breakthrough Wealth Summit” and “disseminated material information to would-be investors”
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 1 through “extensive social media posts,” including through YouTube videos. Id. Defendants here

 2 engaged in the exact same behavior to solicit investors for ICP. In the lead up to ICP’s launch,

 3 Defendants disseminated extensive information about ICP through Twitter posts, YouTube videos,

 4 interviews with the press, and articles authored by Williams and others describing the blockchain

 5 network’s financial potential. SAC ¶¶ 31, 34, 37−48, 50−51. And just like the “Breakthrough

 6 Wealth Summit” in Pino, Defendants here culminated their solicitation efforts with “the Genesis

 7 Launch Event, an hours-long road-show type presentation” only three days before ICP was listed

 8 on crypto-exchanges. Id. ¶ 46.

 9          The Ninth Circuit in Pino recognized the prominent role that internet-based solicitations

10 play in modern securities markets. See Pino, 55 F.4th at 1259 (“Pinter contains no indication that

11 Congress was concerned with regulating only a certain type of solicitations.”); id. at 1260 (“To

12 conclude that their social media communications fall outside the [Securities] Act’s protections

13 would be at odds with Congress’s remedial goals.”). There, the complaint’s allegations that the

14 defendants hosted a “Breakthrough Wealth Summit” and “disseminated material information to

15 would-be investors” through “extensive social media posts,” including through YouTube videos,

16 sufficed to plead statutory seller liability under Pinter’s second prong. Id. at 1260−61; see also In

17 re Genius Brands Inter., Inc. Sec. Litig., 97 F.4th 1171, 1182 (9th Cir. 2024) (explaining that Pino

18 defined “solicitation” broadly, “applying it to various mechanisms used to urge or persuade

19 another to buy a particular security”) (internal quotation marks omitted).

20          Courts in this District have repeatedly applied Pinter’s “broad theory of solicitation” to

21 hold that crypto-asset promoters may be liable as statutory sellers based on similar allegations of

22 solicitation. See Houghton v. Leshner, 2023 WL 6826814, at *3 (N.D. Cal. Sept. 20, 2023)

23 (determining that allegations of defendants’ “design and governance decisions, their efforts to

24 successfully monetize [their crypto-asset] and bring it to secondary markets, and their public

25 comments, plausibly plead solicitation”); Zakinov, 2020 WL 922815, at *12 (concluding that

26 allegations that defendants published tweets, interviews, and articles pushing the adoption of their

27 crypto-asset, hosted conferences concerning its use, explained on their website how to purchase it,

28 and included a link to crypto-exchanges for such purchases sufficed to plead solicitation); In re
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 1 Tezos Secs. Litig., 2018 WL 4293341, at *9 (N.D. Cal. Aug. 7, 2018) (concluding that the

 2 complaint adequately alleged that founders of a crypto-asset were statutory sellers based on their

 3 “comprehensive involvement with the ICO’s planning and execution”).

 4          Defendants mistakenly argue that Pinter’s solicitation prong requires allegations that

 5 Plaintiffs were specifically “aware of the statements attributed to Defendants” and “purchased ICP

 6 in connection with” those statements. Mot. 7. But this argument is contrary to the Ninth Circuit’s

 7 clear command “that § 12 contains no requirement that a solicitation be directed or targeted to a

 8 particular plaintiff,” and accordingly, “mass communication to potential investors through social

 9 media posts and online videos counts as ‘engaging in solicitation’ under Pinter.” Pino, 55 F.4th at

10 1259−60. Defendants’ effort to inject a non-existent reliance element into Section 12(a)(1) ignores

11 the governing law. Id. at 1260 (“To state a claim under § 12(a)(2), Pino need not have alleged that

12 he specifically relied on any of the alleged misstatements identified in the [complaint].”); see also

13 Pinter, 486 U.S. at 652 (“[N]o congressional intent to incorporate tort law doctrines of reliance

14 and causation into § 12[(a)](1) emerges from the language or the legislative history of the

15 statute.”); Houghton, 2023 WL 6826814, at *4 n.5 (reliance is “not required for a section 12 claim”

16 (collecting cases)). Defendants myopically focus (Mot. 6) on Pinter’s statement that “the person

17 who successfully solicits the purchase” is liable, 486 U.S. at 647 (Defendants’ emphasis). But

18 Pinter’s use of “successfully” means only that there is no liability unless “a sale has taken

19 place,” id. at 644—not that the defendant must have directly solicited each plaintiff’s purchase. 5

20          Defendants ignore this on-point in-Circuit authority. Instead, the only in-Circuit case cited

21 by Defendants on this point held that the plaintiffs there failed to plead solicitation against the

22 moving defendants because the plaintiffs specifically alleged that a non-moving defendant

23 “solicited their investments,” which is not the case here. Hollifield v. Resolute Cap. Partners Ltd.,

24

25

26   5
     In any event, “whether or not defendants actually solicited plaintiffs’ sales is a factual question
27 which   should generally be left to the jury; at [the motion to dismiss] stage plaintiffs need only
   satisfy Rule 8(a)’s lenient pleading standards,” Pirani v. Slack Techs., Inc., 445 F. Supp. 3d 367,
28 384 (N.D. Cal. 2020), rev’d on other grounds sub nom. Slack Techs., LLC v. Pirani, 143 S. Ct.
   1433 (2023), which Plaintiffs clearly do here, see SAC ¶¶ 31, 34, 37−48, 50−51.
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 1 LLC, 2023 WL 4291524, at *5 n.6, 6 (C.D. Cal. May 12, 2023). 6 Furthermore, Defendants’

 2 solicitation activity here went beyond the “investor seminars, dinners, and radio shows” found

 3 insufficient in Hollifield. As described above, Defendants also planned and executed the ICO,

 4 which included executing contracts to get ICP listed on all the major crypto-exchanges, and did so

 5 to serve Defendants’ own financial benefit.

 6          Because the SAC states a claim under Section 12(a)(1), Defendants’ Motion fails.

 7 II.      THE SAC STATES PRIMARY CLAIMS UNDER THE EXCHANGE ACT
 8          Contrary to Defendants’ arguments, see Mot. 8–19, the SAC adequately alleges actionable

 9 misstatements and omissions, scienter, and loss causation for purposes of Section 10(b). 7 Because

10 the SAC states a Section 10(b) claim and adequately pleads contemporaneous trading, it also states

11 an insider trading claim against Williams under Section 20A.

12          A.      The SAC States A Claim Under Section 10(b)
13                  1.     The SAC Adequately Pleads Actionable Misstatements and Omissions
14          The “central inquiry” in determining whether a misrepresentation or omission is actionable

15 under Section 10(b) is “whether a reasonable investor would have been misled about the nature of

16 his investment.” In re Genius Brands Inter., Inc. Sec. Litig., 97 F.4th 1171, 1181 (9th Cir. 2024)

17 (quoting In re VeriFone Sec. Litig., 11 F.3d 865, 869 (9th Cir. 1993)). “This is an objective inquiry

18 that requires [the court] to assess ‘whether an investor who had been reasonably diligent in

19 reviewing’ the statement or omission at issue ‘would have been misled.’” Id. (quoting Durning v.

20 First Bos. Corp., 15 F.2d 1265, 1268 (9th Cir. 1987)). The SAC identifies seven materially

21 misleading statements made by Williams on behalf of the Foundation and Dfinity USA between

22 May 10, 2021 and June 11, 2021. See SAC Ex. A. Plaintiff Valenti purchased ICP on the day of

23
     6
24   Defendants misplace reliance (Mot. 7) on the now-reversed case Underwood v. Coinbase Global
   Inc., 654 F. Supp. 3d 224 (S.D.N.Y. 2023), and Holsworth v. BProtocol Found., 2021 WL 706549
25 (S.D.N.Y. Feb. 22, 2021), as the solicitation standard is “decidedly broader in the Ninth Circuit”
   than in the Second Circuit, Houghton, 2023 WL 6826814, at *4. Moreover, the district court in
26 Underwood was reversed precisely because it improperly failed to credit the allegations in the
   amended complaint based upon a purported contradiction with the initial complaint—precisely the
27 error Defendants urge upon the Court here. Oberlander v. Coinbase Glob. Inc., 2024 WL 1478773,
   at *4 (2d Cir. Apr. 5, 2024) (summary order).
28 7
     Defendants do not challenge other elements of the Section 10(b) claim.
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 1 its May 10, 2021 launch and bought ICP on more than ten other subsequent occasions. SAC ¶ 8.

 2 Similarly, Lead Plaintiff Rodriguez first purchased ICP on May 18, 2021—the date of Defendants’

 3 materially misleading Statement 3, infra, and on six other subsequent dates. Id. ¶ 9.

 4          Statements 1–4: The SAC identifies four statements that misled investors about Dfinity’s

 5 sales of ICP and corresponding lockups:

 6          1. “[T]he Foundation did NOT sell ICP tokens from its endowment at or soon after
               Genesis launch.” Id. ¶¶ 64(b), 133(d).
 7
            2. “[T]he foundation, founders and directors weren’t even able to sell initially because of
 8             regulatory lockups.” Id. ¶¶ 55, 64(a), 133(e).
 9          3. “For regulatory reasons, the foundation and key early team members were locked up at
               launch for a week (it’s the reverse of what people think).” Id. ¶¶ 55, 133(b), 148(a).
10
            4. “[A] significant portion of the irresponsible token divesting stemmed from former
11             employees.” Id. ¶¶ 64(b), 133(g).
12 A reasonable investor would have been misled by each of these statements because they created

13 the false impression that Defendants did not sell ICP immediately following the launch and that

14 ICP was a stable, long-term investment. See id. ¶ 36. In addition, these statements misled investors

15 into believing that Defendants’ employees and affiliates, such as ICA, were subject to lockups and

16 restrictions that would prevent the extreme price swings that harmed retail investors. Id. ¶¶ 33−38.

17 But these Defendant groups, in fact, sold ICP at launch. Id. ¶ 133.

18          Contrary to these misrepresentations, between May 10 and June 15, 2021, Dfinity directly

19 transferred approximately 8.3 million ICP tokens to several crypto-exchanges; transferred

20 approximately 34.1 million tokens to roughly three dozen accounts apparently belonging to

21 Dfinity, its employees, and its affiliates, with 10.7 million ICP transferred to crypto-exchanges

22 shortly thereafter; and indirectly sold approximately 20 million ICP through the ICA, which is

23 controlled by Defendant Williams. 8 Id. ¶ 58−60. Defendants’ transfers of ICP to crypto-exchanges

24
     8
25   Defendants are wrong that the SAC cannot rely on confidential witness allegations related to the
   ICA. See Mot. 10. “Where a complaint relies on both confidential witnesses and other factual
26 information, such as documentary evidence, the plaintiffs ‘need not name their sources as long as
   the latter facts provide an adequate basis for believing that the defendants’ statements were false.’”
27 Zucco Partners, LLC v. Digimarc Corp., 552 F.3d 981, 995 (9th Cir. 2009) (quoting In re Daou
   Sys., Inc., 411 F.3d 1006, 1015 (9th Cir. 2005)). The SAC alleges that Dfinity indirectly sold ICA
28 based on both information from Dfinity whistleblowers and public data from Dfinity’s native
   blockchain, which corroborates the whistleblowers’ allegations. SAC ¶ 60.
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 1 support the reasonable inference that such transfers were made for the purpose of selling ICP. In

 2 support of that inference, the SAC alleges how crypto-exchanges are principally used for selling

 3 (rather than merely storing) tokens, and that it would make little sense for an investor merely to

 4 hold ICP on such an exchange given that token holders could earn rewards, including newly minted

 5 ICP tokens, by storing their tokens on Dfinity’s native blockchain. Id. ¶ 61. In fact, and contrary

 6 to Defendants’ representations, approximately three-quarters of all such ICP transfers to crypto-

 7 exchanges in the two months following ICP’s launch were made by Dfinity, its employees, and its

 8 affiliates, including ICA. Id.

 9          In arguing that Statements 2 and 3 are not misleading, Defendants improperly ask the Court

10 to draw two factual inferences in their favor. First, Defendants ask the Court to “disregard”

11 Plaintiffs’ allegations concerning the Arkham Report and its findings that Defendants sold ICP at

12 the token’s launch. Mot. 9−10. But resolving such a factual dispute would clearly be improper at

13 this stage. See, e.g., Snellink v. Gulf Res. Inc., 870 F. Supp. 2d 930, 939 (C.D. Cal. 2012) (collecting

14 cases) (stating in a securities fraud class action that “[a]t this pleading stage, it is inappropriate to

15 decide the accuracy or the truth of the [short seller report at issue]”); Henning v. Orient Paper,

16 Inc., 2011 WL 2909322, at *4 (C.D. Cal. July 20, 2011) (“[T]he underlying truth of the credit

17 reports on which Plaintiffs rely are a factual dispute inappropriate for determination on a motion

18 to dismiss.”). Second, Defendants claim that their statements about lockups were not misleading

19 because they were “expressly limited to specific individuals and entities” and made no

20 representations about sales by former employees. Mot. 9. But this is wrong twice over. The SAC

21 expressly alleges that Defendants themselves engaged in the sales. SAC ¶¶ 58, 61. Defendants

22 cannot explain away this allegation through asserting that only former employees sold.

23          Moreover, the SAC alleges that Defendants transferred large numbers of tokens to affiliates

24 and employees in order to facilitate their sale immediately after the May 10 launch. Id. ¶¶ 59–61.

25 But this, too, is contrary to what Defendants told the market prior to launch—that ICP belonging

26 to Dfinity “team members” (id. ¶¶ 35, 52, 55) would be subject to lockups and vesting restrictions.

27 Defendants’ statements to the market about trading restrictions did not distinguish between current

28 or former Dfinity employees. Defendants cannot ask the Court to disregard the well-pled
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 1 allegations concerning team members’ trading restrictions in the SAC and accept their competing

 2 factual narrative at the motion to dismiss stage.

 3          Statement 5: The SAC alleges that in discussing who was responsible for selling ICP in

 4 the period immediately following the token’s launch, Williams accused “seed” donors of

 5 “divesting their ICP tokens.” SAC ¶¶ 64(b), 133(f). But, as discussed above, it was Defendants as

 6 well as their affiliates and employees, including the ICA, who were responsible for selling their

 7 ICP at inflated prices—not seed donors. Id. ¶¶ 58−61. In fact, seed donors could not have sold

 8 substantial numbers of ICP tokens in the weeks following May 10, 2021, because their tokens,

 9 unlike others, were subject to lockup restrictions. Id. ¶ 53.

10          Defendants are wrong (Mot. 11−12) that the allegations in Statements Nos. 4−5 relating to

11 sales by seed donors and former employees are inconsistent with other allegations in the SAC.

12 Defendants argue that because some “seed” donors could sell a minimal portion of their ICP at

13 launch, Williams’s statements were literally true and therefore not misleading. But even literally

14 true statements “can be misleading and thus actionable under the securities laws” when they omit

15 critical context. Brody v. Transitional Hosps. Corp., 280 F.3d 997, 1006 (9th Cir. 2002). While

16 Williams did explain that a portion of the ICP held by seed donors would “be unlocked each

17 month,” including at Genesis, SAC ¶ 53, the quantity of ICP made available to seed donors at

18 launch was negligible compared to the quantity of ICP sold at and immediately after launch by

19 non-seed donors, such as Defendants, id. ¶¶ 58−61. As before, Defendants focus on how they

20 disclosed that some former employees sold ICP at launch. Mot. 12. But this misses the point.

21 Defendants’ statements are misleading because they are trying to hide behind these sales by former

22 employees to distract from the significant number of ICP that Defendants transferred to crypto-

23 exchanges directly and indirectly for the purpose of themselves selling ICP at inflated prices. SAC

24 ¶¶ 58−61.

25          Statement 6: On May 26, 2021, approximately two weeks after ICP’s launch and before

26 many of Plaintiffs’ trades, Williams tweeted that the “Foundation didn’t vest itself but plans on

27 putting most of its ICP into neurons. It is doing this carefully to make sure foundation+team

28 members don’t control the network.” SAC ¶¶ 8–9, 63, 133(c). This statement gave investors the
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 1 misleading impression that the Foundation was not selling large numbers of ICP tokens when, in

 2 reality, and as described above in connection with Statements 1–5, the Foundation was directly

 3 and indirectly doing so.

 4          Statement 7: On May 10, 2021, the day of ICP’s launch, Williams said, “[i]t is very

 5 important that the flow of liquid ICP tokens around the network is released on a schedule for the

 6 safety and security of ICP holders, the network, and its users while the underlying technology is

 7 being fettled and its ecosystem is being established.” SAC ¶¶ 53, 133(a). This statement was

 8 misleading because it gave investors the false impression that Defendants’ ICP tokens were subject

 9 to lockup and vesting restrictions. In order to make this statement not misleading, Defendants were

10 obligated to (but did not) disclose that, in connection with the Genesis launch on May 10, 2021,

11 (i) the Foundation was not subject to any vesting schedule; (ii) any applicable vesting periods

12 would nevertheless allow Defendants immediately to sell substantial amounts of ICP on crypto-

13 exchanges; (iii) Defendants had transferred ICP to the ICA for the purpose of dumping ICP; and

14 (iv) Defendants intended to deposit tens of millions of ICP tokens on such exchanges.

15          For the reasons stated above, Statements 1–7 were false and/or misleading to investors.

16                 2.      The SAC Adequately Pleads a Strong Inference of Scienter
17          Scienter can be alleged through “either deliberate recklessness or conscious recklessness”

18 to an obvious danger of misleading investors. In re VeriFone Holdings, Inc. Secs. Litig., 704 F.3d

19 694, 702 (9th Cir. 2012). Under the PSLRA, a plaintiff pleads “a ‘strong inference’ [of scienter]

20 … ‘if a reasonable person would deem the inference of scienter cogent and at least as compelling

21 as any opposing inference one could draw from the facts alleged.’” Glazer Cap. Mgmt., L.P. v.

22 Forescout Techs., Inc., 63 F.4th 747, 766 (9th Cir. 2023) (quoting Tellabs, Inc. v. Makor Issues &

23 Rts., Ltd., 551 U.S. 308, 324 (2007)); see also Weston v. DocuSign, Inc., 669 F. Supp. 3d 849, 886

24 (N.D. Cal. 2023) (“The inference that the defendant acted with scienter need not be irrefutable,

25 i.e., of the ‘smoking gun’ genre, or even the most plausible of competing inferences.”) (quoting

26 Tellabs, 551 U.S. at 324). In determining scienter, “courts must review all the allegations

27 holistically.” In re VeriFone Holdings, 704 F.3d at 702. Under this approach, the SAC’s inference

28
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 1 that Williams—and therefore the Foundation and Dfinity USA—acted with scienter is at least as

 2 compelling as any competing inference.

 3          The SAC supports the compelling inference that given Williams’s involvement in ICP’s

 4 launch, including making statements about token sales and liquidity, he was at least deliberately

 5 reckless in misleading investors concerning (i) Defendants’ ability to sell ICP at launch, (ii) the

 6 extent to which Defendants were subject to lockups, and (iii) Defendants’ direct and indirect sales

 7 of large numbers of ICP tokens at launch. The SAC alleges that Williams played a key role in

 8 promoting ICP at the “Genesis Launch Event,” SAC ¶¶ 42−46, including discussing the “full token

 9 liquidity” of ICP that listing it on numerous crypto-exchanges simultaneously would provide. Id.

10 ¶¶ 47−48. Williams further promoted ICP as a safe, “long-term project” and “not a traditional

11 cryptocurrency pump and dump.” Id. ¶¶ 37−38. Williams publicly stated that ICP tokens issued to

12 Dfinity “founders and key technical personnel” would be subject to “vesting incentive packages

13 where tokens are released slowly over years,” id. ¶ 34, and he insisted that he would voluntarily

14 subject himself to an eight-year lockup period, id. ¶¶ 37, 52. As discussed in Part II.A.1, supra,

15 Defendants never disclosed that Dfinity, the Foundation, its employees, and its affiliates would in

16 fact be free to sell ICP immediately following ICP’s launch on May 10, 2021, and in fact did so

17 both directly and indirectly.

18          Accordingly, given his position, Williams necessarily had knowledge of Dfinity’s

19 decisions regarding the issuance and sale of billions of dollars of ICP, as well as any lockup or

20 vesting restrictions applicable to ICP. See SAC ¶ 142; Glazer Cap. Mgmt., 63 F.4th at 772 (holding

21 plaintiffs alleged scienter because “Defendants must have known that deals were being

22 miscategorized because the Individual Defendants themselves participated in the widespread

23 pressure campaign to do so”); In re VeriFone Holdings, 704 F.3d at 710 (“Importantly, the

24 complaint alleges in detail that [defendants] were hands-on managers with respect to operational

25 details and financial statements, and that they would have been aware of the complications

26 associated with the [merger at issue].”); see also Mulligan v. Impax Lab’ys, Inc., 36 F. Supp. 3d

27 942, 970 (N.D. Cal. 2014) (concluding that it is “absurd” that the CEO and CFO would be unaware

28 of issues “pervading … the heart of [their] company”). At the very least, it is a compelling
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 1 inference that Williams knew what lockup and vesting restrictions, if any, applied to his own ICP

 2 tokens, and by extension others’. SAC ¶ 142.

 3          Williams also had a significant financial incentive not to disclose Defendants’ dumping of

 4 ICP while prices were inflated shortly after launch. See Weston, 669 F. Supp. 3d at 885 (“As the

 5 Supreme Court has explained, ‘motive can be a relevant consideration, and personal financial gain

 6 may weigh heavily in favor of a scienter inference.’”) (quoting Tellabs, 551 U.S. at 325). Having

 7 previously stated that Dfinity was “not a traditional cryptocurrency pump and dump,” SAC ¶ 38,

 8 Williams and Dfinity further had an incentive to conceal their direct and indirect dumping of ICP

 9 tokens on the market on and after May 10, 2021. Because the value of ICP tokens reflected the

10 success of Dfinity’s network, id. ¶¶ 47, 73, disclosing massive sales by Defendants, their affiliates,

11 and their employees likely would have caused ICP’s price to plummet even faster than it did.

12 Lower prices would have meant lower profits from Defendants’ sales of ICP and lower values for

13 the remaining ICP tokens Defendants held.

14          Defendants appear to contest scienter in name only, and instead, simply repeat their

15 argument that the challenged statements were not misleading. See Mot. 15 (“Plaintiffs do not

16 adequately allege that any of Mr. Williams’[s] statements regarding restrictions on the

17 Foundation’s or his own tokens were false, or that any information about those restrictions

18 should have been disclosed.) (emphasis added); Mot. 16 (“Plaintiffs fail to allege any sales by

19 Defendants during that time [around the time of ICP’s launch].”); Mot. 17 (“Yet plaintiffs allege

20 that Mr. Williams disclosed all of the allegedly concealed facts after May 10, 2021.”). As discussed

21 above, the SAC adequately pleads that Williams made numerous false and misleading statements

22 and that both Williams and entities he controlled did in fact sell ICP directly and indirectly in the

23 weeks after ICP’s May 10, 2021 launch. See supra Part II.A.1. Defendants cannot sweep away

24 allegations concerning their scienter simply by arguing that the statements at issue were not

25 misleading in the first place. Cf. Glazer Cap. Mgmt., 63 F.4th at 766 (“Supreme Court decisions

26 … treat[] falsity and scienter as separate requirements.”).

27          Defendants attempt (Mot. 15 n.10) to get around the fact that it would be “absurd” for

28 Williams not to have known about ICP lockup restrictions by citing Sneed v. AcelRx Pharms., Inc,
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 1 in which the court did not apply the “core operations” doctrine because the “[p]laintiffs [] failed

 2 to plead particular allegations that any individual Defendant had access to any disputed

 3 information, or that there is any relevant fact that would have been absurd for [the company’s]

 4 management not to know.” 2022 WL 4544721, at *6 (N.D. Cal. Sept. 28, 2022). By contrast, here,

 5 Plaintiffs have extensively pled Defendant Williams’s access to knowledge of Defendants’ vesting

 6 and lockup restrictions, including (i) numerous public statements by Williams on the subject,

 7 which on their face assert Williams’s knowledge and control over vesting and lockup restrictions,

 8 SAC ¶¶ 33−38, 53; (ii) Williams’s attendance at a meeting regarding ICP dumping at Genesis, id.

 9 ¶ 60; (iii) Williams’s direction of Defendants’ ICP transfers at Genesis, id. ¶¶ 59, 121; and

10 (iv) Williams’s direction of ICA’s transfers at Genesis, id. ¶ 60. These allegations, taken together,

11 create a “cogent and compelling” inference, In re Alphabet, Inc. Secs. Litig., 1 F.4th 687, 701 (9th

12 Cir. 2021), that it would have been “absurd” for Williams not to know of Defendants’ ability to

13 dump ICP at launch. Mulligan, 36 F. Supp. 3d at 970. 9

14                  3.      The SAC Adequately Pleads Loss Causation
15          Loss causation is adequately pled where corrective disclosures (1) “revealed, in whole or

16 in part, the truth concealed by the defendant’s misstatements; and (2) disclosure of the truth caused

17 [the token’s] price to decline and the inflation attributable to the statements to dissipate.” In re Bofl

18 Holding, Inc. Sec. Litig., 977 F.3d 781, 791 (9th Cir. 2020) (internal quotation marks omitted).

19 Corrective disclosures can “come from any source, including knowledgeable third parties” and

20 “need not precisely mirror the earlier misrepresentation.” Id. at 790 (internal quotation marks

21 omitted). Importantly, “[l]oss causation is a ‘context-dependent’ inquiry.’” In re Genius Brands,

22 97 F.4th 1171, 1184 (9th Cir. 2024) (quoting Mineworkers’ Pension Scheme v. First Solar Inc.,

23 881 F.3d 750, 753 (9th Cir. 2018) (per curiam)).

24
     9
25    Defendants further rely (Mot. 15–17) on cases presenting separate and distinguishable
   circumstances. See Park v. GoPro, Inc., 2019 WL 1231175, at *22 (N.D. Cal. Mar. 15, 2019)
26 (plaintiff did not allege scienter where there were “no specific allegations about the timing of what
   Defendants knew and when they knew it”); Wozniak v. Align Tech., Inc., 2011 WL 2269418, at
27 *14 (N.D. Cal. June 8, 2011) (attempting to allege scienter through sales by individuals and entities
   other than defendants); In re Taleo Corp. Secs. Litig., 2010 WL 597987, at *9 (N.D. Cal. Feb. 17,
28 2010) (complaint only alleged executives’ “general knowledge” of company’s accounting
   procedures, which it claimed were the subject of misleading statements).
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 1          Courts in this Circuit have repeatedly observed that loss causation “is a matter of proof at

 2 trial and not to be decided on a Rule 12(b)(6) motion to dismiss.” Pampena v. Musk, — F. Supp.

 3 3d — , 2023 WL 8588853, at *18 (N.D. Cal. Dec. 11, 2023) (quoting In re Gilead Scis. Sec. Litig.,

 4 536 F.3d 1049, 1057 (9th Cir. 2008)). At the motion to dismiss stage, pleading loss causation

 5 “should not prove burdensome”—the SAC need only provide Defendants “notice of plaintiff’s

 6 loss causation theory and provide the court some assurance that the theory has a basis in fact.” In

 7 re Bofl, 977 F.3d at 794. “So long as the complaint alleges facts that, if taken as true, plausibly

 8 establish loss causation, a Rule 12(b)(6) dismissal is inappropriate.” In re Gilead, 536 F.3d at 1057.

 9          The SAC adequately pleads loss causation through a series of four partial corrective

10 disclosures. Williams’s first actionable misstatement was on May 10, 2021, which provided ICP

11 investors with the incorrect impression that Dfinity’s, the Foundation’s, its affiliates’, and its

12 employees’ ICP tokens were subject to lockup and vesting requirements. Eight days later, the price

13 of ICP dropped by 16% when Williams disclosed that “for regulatory reasons, the foundation and

14 key early team members were locked up at launch for a week.” SAC ¶ 148. This was a partial

15 disclosure that Defendants were looking to sell ICP at its launch, contrary to Williams’s earlier

16 claims that ICP was a safe, long-term investment and that Williams and Dfinity team members

17 would be bound by longer vesting scheduling and personally lock up ICP tokens. See id. ¶ 52. The

18 SAC alleges three additional partial corrective disclosures that occurred between May 26, 2021

19 and June 22, 2021 that all revealed that Dfinity and its affiliates, Williams, and other Dfinity

20 employees had the ability to sell ICP at launch and that their ICP tokens were not subject to strict

21 lockup and vesting requirements as investors had been misled to believe. Id. ¶¶ 148(b)−(d).

22          Defendants’ arguments to the contrary are meritless. First, Defendants incorrectly claim

23 that a statement “cannot be misleading and corrective at the same time.” Mot. 18 (citing In re Flag

24 Telecom Holdings, Ltd. Sec. Litig, 574 F.3d 29, 41 (2d Cir. 2009) (discussing loss causation on a

25 motion for class certification). But that is not the law in this Circuit. Instead, the “Ninth Circuit

26 has taken a flexible approach to loss causation that recognizes that there are an ‘infinite variety of

27 ways for a tort to cause a loss,’” In re Tesla, Inc. Sec. Litig., 2022 WL 7374936, at *9 (N.D. Cal.

28 Oct. 13, 2022) (quoting First Solar, 881 F.3d at 753), which includes alleging loss causation
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 1 through a series of partial corrective disclosures, In re Bofl, 977 F.3d at 791. Second, Defendants

 2 claim that the alleged corrective disclosures do not correct “prior alleged misstatements.” Mot. 18.

 3 This distorts the loss causation inquiry, which is separate from the “element” of “falsity.” Id. at

 4 790. To assess loss causation, the Court assumes that material misstatements are adequately pled

 5 and asks “if the [corrective] disclosure reveals new facts that, taken as true, render some aspect of

 6 the defendant’s prior statements false or misleading.” Id. Because the statements at issue are

 7 misleading for the reasons explained in Part II.A.1, supra, the alleged corrective disclosures

 8 revealed to investors the reasons such statements were misleading, and ICP’s price dropped as a

 9 result. This plainly alleges loss causation under Ninth Circuit precedent. Third, Defendants are

10 wrong that investors realizing that Defendants’ prior statements were misleading over an eleven-

11 day period in which the price of ICP dropped precipitously does not constitute a corrective

12 disclosure. The SAC need only provide Defendants “notice of plaintiff’s loss causation theory and

13 provide the court some assurance that the theory has a basis in fact.” In re Bofl, 977 F.3d at 794

14 (internal quotation marks omitted). Defendants are on notice that the SAC alleges that the price of

15 ICP dropped when the truth was revealed about Defendants’ materially misleading statements

16 concerning lockups, vesting, and Defendants’ ICP sales. The only case Defendants cite in support

17 of dismissal is easily distinguished as plaintiffs there (unlike here) alleged loss causation over the

18 “course of the year” with disclosures that merely amounted to “a general decline in valuation.”

19 Irving Firemen’s Relief & Ret. Fund v. Uber Techs., Inc., 998 F.3d 39, 409 (9th Cir. 2021).

20 Accordingly, the Section 10(b) claim is adequately pled.

21          B.      The SAC Adequately Pleads a Section 20A Claim
22          The SAC adequately pleads the elements of a Section 20A claim by alleging

23 “contemporaneous trading” and “a predicate violation of a securities law.” Evanston Police

24 Pension Fund v. McKesson Corp., 411 F. Supp. 3d 580, 605–06 (N.D. Cal. 2019). Although “[t]he

25 Ninth Circuit has not offered exact guidance as to the definition of contemporaneous trading under

26 Section 20A … the better rule with respect to standing for 20A claims seems to be that a class

27 action may be maintained on behalf of all persons who purchased stock on an exchange during the

28 period that defendants were selling that stock on the basis of insider information.” Middlesex
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 1 Retirement System v. Quest Software Inc., 527 F.Supp.2d 1164, 1196 (C.D. Cal. 2007) (cleaned

 2 up). Moreover, numerous Ninth Circuit courts have found the contemporaneous trading

 3 requirement satisfied where trades by the plaintiff and defendant were a week or more apart. See,

 4 e.g., In re Petco Animal Supplies Inc. Secs. Litig., 2006 WL 6829623, at *37 (S.D. Cal. Aug. 1,

 5 2006) (holding that trades within seven or eight days of defendants’ were contemporaneous);

 6 accord Evanston Police, 411 F. Supp. 3d at 605–06 (rejecting same-day or day-after rule for

 7 contemporaneous trading, endorsing the reasoning of In re Petco, and holding that plaintiff

 8 “adequately pled contemporaneousness as to all three challenged sales”); 10 Middlesex, 527 F.

 9 Supp. at 1196 (holding that trades occurring eight days after defendants’ were contemporaneous).

10          The contemporaneous trading requirement is easily satisfied here as the SAC pleads trades

11 in ICP by Defendants “as soon as the ICO launched on May 10, 2021,” SAC ¶ 55; see also id.

12 ¶¶ 57, 59, 61, and by Plaintiffs during this same time period, see id. ¶ 8 (detailing trades by Plaintiff

13 Valenti on May 10, 12, 15–22, 24, 27, 30, and 31, 2021, among other dates); id. ¶ 9 (detailing

14 trades by Lead Plaintiff Rodriquez on May 18 and 28, 2021, among other dates); id. ¶ 49. As

15 discussed in Part II, supra, Plaintiffs have also adequately pled a predicate violation under Section

16 10(b) of the Exchange Act. See Johnson v. Aljian, 490 F.3d 778, 781 (9th Cir. 2007). Accordingly,

17 Plaintiffs’ Section 20A claim is well pled.

18 III.     THE SAC ADEQUATELY PLEADS CONTROL PERSON CLAIMS
19          The SAC adequately pleads control person claims against Williams under Securities Act

20 Section 15 and Exchange Act Section 20(a) because it alleges (1) a “primary violation,” and

21 (2) that Williams “exercised actual power over” Dfinity. In re Alphabet, Inc. Sec. Litig., 1 F.4th

22 687, 702 (9th Cir. 2021). Here, Defendants argue only that the SAC fails to plead a primary

23 violation. See Mot. 20. This argument fails for the reasons stated in Part II, supra. E.g., Glazer

24 Cap. Mgmt., 63 F.4th at 781.

25                                             CONCLUSION
26          For the above reasons, Defendants’ motion to dismiss should be denied in full.

27
     10
28     The complaint in Evanston Police challenged sales occurring nine days before, six days before,
     and on the same day as plaintiff’s own trades. Id., No. 18-cv-06525, Dkt. 223-1 ¶¶ 245–46.
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 1   Dated:   May 28, 2024          Respectfully submitted,
 2
                              By: /s/ Jordan A. Goldstein
 3                                Jordan A. Goldstein (pro hac vice)
                                  Oscar Shine (pro hac vice)
 4                                SELENDY GAY PLLC
 5                                1290 Avenue of the Americas
                                  New York, NY 10104
 6                                Tel: 212-390-9000
                                  jgoldstein@selendygay.com
 7                                oshine@selendygay.com
 8                                  Elizabeth A. Kramer
                                    Kevin M. Osborne
 9                                  ERICKSON KRAMER OSBORNE LLP
                                    44 Tehama St.
10                                  San Francisco, CA 94105
                                    Tel: 415-635-0631
11                                  elizabeth@eko.law
                                    kevin@eko.law
12
                                    Attorneys for Plaintiffs and the Proposed Class
13

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 1                                              ATTESTATION

 2          Pursuant to Local Rule 5-1(i)(3), I attest that each signatory above has concurred in the

 3 filing of this document and has authorized the use of his or her electronic signature.

 4

 5 Dated: May 28, 2024                            SELENDY GAY PLLC

 6                                                By: /s/ Jordan A. Goldstein
                                                    Jordan A. Goldstein
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